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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas
                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                                            ENTERED
                                                                                           March 26, 2024
                               HOUSTON DIVISION
                                                                                         Nathan Ochsner, Clerk
  In re:                                                 )   Chapter 11
  FREE SPEECH SYSTEMS LLC,                               )   Case No. 22-60043
                                                         )
                         Debtor.                         )


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  In re:                                                 )   Chapter 11
  ALEX E. JONES,                                         )   Case No. 22-33553
                                                         )
                         Debtor.                         )

                             ORDER APPOINTING MEDIATOR

         Upon the request of the Subchapter V Trustee, it is ORDERED

         1.    Judge Edward L. Morris is appointed as a mediator in this case. At all times in the

performance of his mediation duties, Judge Morris will be acting in his official capacity as a United

States Bankruptcy Judge, with all of the privileges and immunities of a United States Bankruptcy

Judge.

         2.    The Court adopts and incorporates Section S of the Procedures for Complex Cases

in the Southern District of Texas (Effective October 18, 2023).

         3.    An in person, face to face, meeting with persons with full settlement authority

present will take place in Judge Morris’ Courtroom beginning on April 17, 2024 or at any other

location and time determined by Judge Morris. The procedures for the meeting will be determined

by Judge Morris, following such consultation with the Parties, as he deems appropriate.


SIGNED ________________
       August
      March 26,02, 2019
                2024                    ___________________________________
                                        CHRISTOPHER LÓPEZ
                                        UNITED STATES BANKRUPTCY JUDGE
